                                                   Case 1:19-cr-00696-PAE Document 118-2 Filed 04/09/20 Page 1 of 1


ViolationID HouseNStreetName       PostcodeInspectionD NOVDescription                                                                                              CurrentStatus         ViolationStatus BBL
    11716937 2650 MARION AVENUE      10458 4/1/2017 SECTION 27‐2005 ADM CODE REPAIR THE BROKEN OR DEFECTIVE PLASTERED SURFACES AND PAINT IN A UNIFORM COLOR CEILINFALSE CERTIFICATION    Open              2032820016
    11796508 2650 MARION AVENUE      10458 5/23/2017 SECTION 27‐2033 ADM CODE PROVIDE READY ACCESS TO BUILDINGS HEATING SYSTEM AT CELLAR AT BOILER ROOM            FALSE CERTIFICATION   Open              2032820016
    11810305 2650 MARION AVENUE      10458 6/2/2017 SECTION 27‐2018 ADMIN. CODE: ABATE THE NUISANCE CONSISTING OF MICE IN THE ENTIRE APARTMENT LOCATED AT APT 4FS FALSE CERTIFICATION    Open              2032820016
    13092472 2601 MARION AVENUE      10458 5/24/2019 SECTION 27‐2005 ADM CODE REPLACE WITH NEW THE MISSING ESCUTCHEON PLATE AT RISER AT CEILING IN THE KITCHEN LOCAFALSE CERTIFICATION   Open              2032870018
    13092473 2601 MARION AVENUE      10458 5/24/2019 SECTION 27‐2026 ADM CODE REMOVE ALL OBSTRUCTIONS AND REPAIR ALL DEFECTS IN IN THE WASTE LINE AT THE BATHTUB INFALSE CERTIFICATION   Open              2032870018
    13174995   672 EAST 138 STREET   10454 7/13/2019 HMC ADM CODE: ï¿½ï¿½ 27‐2017.4 ABATE THE INFESTATION CONSISTING OF ROACHES IN THE ENTIRE APARTMENT LOCATED AT FALSE CERTIFICATION   Open              2025660001
    13096864   502 EAST 189 STREET   10458 5/29/2019 SECTION 27‐2005 ADM CODE PROPERLY REPAIR THE BROKEN OR DEFECTIVE LOWER WINDOW SASH SPRING BALANCE AT NORTHFALSE CERTIFICATION       Open              2030580019
    13092467 2601 MARION AVENUE      10458 5/24/2019 SECTION 27‐2005 ADM CODE REPLACE WITH NEW THE MISSING DOOR IN THE 3rd ROOM FROM NORTH AT WEST LOCATED AT FALSE CERTIFICATION        Open              2032870018
    13133443 2601 MARION AVENUE      10458 6/18/2019 SECTION 27‐2005 ADM CODE REPAIR THE BROKEN OR DEFECTIVE PLASTERED SURFACES AND PAINT IN A UNIFORM COLOR THE C FALSE CERTIFICATION   Open              2032870018
    13133461 2601 MARION AVENUE      10458 6/20/2019 SECTION 27‐2005 ADM CODE REPLACE WITH NEW THE BROKEN OR DEFECTIVE MARBLE SADDLE IN THE BATHROOM LOCATED A FALSE CERTIFICATION       Open              2032870018
    13133560 2601 MARION AVENUE      10458 6/18/2019 SECTION 27‐2005 ADM CODE PROPERLY REPAIR WITH SIMILAR MATERIAL THE BROKEN OR DEFECTIVE FIRE RETARDANT MATERIAFALSE CERTIFICATION    Open              2032870018
    13133607 2601 MARION AVENUE      10458 6/18/2019 SECTION 27‐2005 ADM CODE PROPERLY REPAIR WITH SIMILAR MATERIAL THE BROKEN OR DEFECTIVE FIRE RETARDANT MATERIAFALSE CERTIFICATION    Open              2032870018
    13061616   226 WILLIS AVENUE     10454 5/9/2019 SECTION 62 M/D LAW REARRANGE TELEVISION AND/OR RADIO ANTENNA TO BE AT LEAST 10 FEET ABOVE ROOF AND NOT ATTACFALSE CERTIFICATION      Open              2022820003
    13272221 2175 BELMONT AVENUE 10457 9/6/2019 SECTION 27‐2017 3 HMC: TRACE AND REPAIR THE SOURCE AND ABATE THE VISIBLE MOLD CONDITION... AT CEILING AND WALLS FALSE CERTIFICATION      Close             2030820036
    13562703   612 EAST 168 STREET   10456 1/23/2020 SECTION 27‐2033 ADM CODE POST NOTICE, IN FORM APPROVED BY THE DEPARTMENT, STATING THE NAME AND LOCATION OF FALSE CERTIFICATION      Open              2026140026

                              Source: https://data.cityofnewyork.us/Housing‐Development/Housing‐Maintenance‐Code‐Violations/wvxf‐dwi5/data
